Case 1:14-ml-02570-RLY-TAB Document 24633
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                                                                                      Jul 12, 2023
                IN THE UNITED STATES DISTRICT COURT
                    SOUTHERN DISTRICT OF INDIANA
                        INDIANAPOLIS DIVISION


IN RE: COOK MEDICAL, INC., IVC FILTERS
MARKETING, SALES PRACTIES AND
                                                           Case No. 1:14-ml-2570-RLY-TAB
PRODUCTS LIABILITY LITIGATION
                                                                             MDL No. 2570
________________________________________

This Document Relates to Plaintiff: Ruth Albright


Civil Case No. 1:22-cv-1377
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              STIPULATION OF DISMISSAL WITH PREJUDICE

       IT IS HEREBY STIPULATED AND AGREED, by and between the undersigned parties

pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), that the above-captioned case be dismissed with

prejudice, each party to bear its own costs. The parties further agree and stipulate that

this dismissal shall have no effect on Plaintiff Ruth Albright's case in this Court,

Case No. 1:19-cv-4971.



       IT IS SO STIPULATED:




      /s/ Lawana S. Wichmann                        /s/ Kip McDonald
      Lawana S. Wichmann                            FAEGRE DRINKER
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      Attorney for Plaintiffs                       Attorney for Defendants

      Dated: June 1, 2023                           Dated: June 1, 2023
